               Case 9:19-bk-10132-FMD                 Doc 9      Filed 12/30/19         Page 1 of 2


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                      IN THE UNITED STATES BANKRUPTCY COURT
                   MIDDLE DISTRICT OF FLORIDA, FORT MYERS DIVISION
In Re:

DIOGENES E PENA                                                 Case No. 9:19-bk-10132-FMD


                         Debtor.                           /

            TRUSTEE'S OBJECTION TO DEBTOR’S CLAIM OF EXEMPTION

                          (This Objection is NOT solely regarding valuation)

         The Trustee objects to the Debtor claim of exemption and states as follows:

1.       The Trustee objects to the Debtor claim of exemption concerning the following property:
         All property on Schedule C claimed exempt as tenants by the entireties property.
                  NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

 Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without further notice or
 hearing unless a party in interest files a response within 21 days from the date set forth on the attached proof of
 service, plus an additional three days for service if any party was served by U.S. Mail. You should read these
 papers carefully and discuss them with your attorney if you have one. If the paper is an objection to your claim in
 this bankruptcy case, your claim may be reduced, modified, or eliminated.

 If you object to the relief requested in this paper, you must file a response with the Clerk of the Court at Sam M.
 Gibbons United States Courthouse, 801 N. Florida Avenue, Suite 555, Tampa, Florida 33602, and serve a copy on
 the movant’s attorney, Robert E. Tardif Jr., P.O. Box 2140, Fort Myers, FL 33902, and any other appropriate
 persons within the time allowed. If you file and serve a response within the time permitted, the Court will either
 schedule and notify you of a hearing or consider the response and grant or deny the relief requested without a
 hearing.

 If you do not file a response within the time permitted, the Court will consider that you do not oppose the relief
 requested in the paper, will proceed to consider the paper without further notice or hearing, and may grant the relief
 requested.

2.       As the basis for the objection, the Trustee states that the Debtor’s marriage is a short-term
         marriage so all of the requirements of TBE ownership do not exist. Moreover, the Debtor
         testified that he owned almost all household appliances, furnishings and other personal
         property were owned by him prior to marriage.

3.       Exemptions should be limited, by law, to the amounts permitted within the appropriate
         exemption scheme that is applicable to the Debtor.

4.       If the Court sustains this Objection, Debtor may contact the Trustee to discuss purchasing
         the estate's interest in the pertinent asset.


       WHEREFORE the Trustee requests that a hearing be scheduled on this objection and that
the Clerk give notice of such hearing to all parties of interest.
            Case 9:19-bk-10132-FMD          Doc 9    Filed 12/30/19     Page 2 of 2


                                      Certificate of Service

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
electronically to the Assistant United States Trustee and by regular U.S. Mail to Diogenes E Pena,
2600 Nw 3rd Place, Cape Coral, FL 33993 on December 30, 2019.


                                                 /s/ Robert E. Tardif Jr.
                                                 Robert E. Tardif Jr., Esquire
                                                 P.O. Box 2140
                                                 Fort Myers, Florida 33902
                                                 Telephone: 239/362-2755
                                                 Facsimile: 239/362-2756
                                                 Email: rtardif@comcast.net
